                     Case MDL No. 3089 Document 119 Filed 10/06/23 Page 1 of 1
  UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                 3089                                                      ORAL PHENYLEPRINE MARKETING AND SALES
MDL No. _____________ & TITLE - IN RE: __________________________________
                                       PRACTICES LITIGATION

Case Caption (Include Plaintiff, District, and Civil Action No.) (attach list if necessary):

Newton's Pharmacy v. Procter & Gamble Company, S.D. Ohio, No. 1:23-cv-00613
_________________________________________________________________

                                     CORPORATE DISCLOSURE STATEMENT

                                                Plaintiff Newton's Pharmacy
The undersigned counsel for ___________________________, (attach list if necessary) certifies that this
party is a non-governmental corporate party and that:


             This party's parent corporation(s) are listed below:




             The following publicly-held corporation(s) own 10% or more of the party's stock (attach list if
             necessary):




OR
✔       This party does not have any parent corporations; and no publicly-held corporation owns 10% or
more of the party's stock.



/s/ Alyson S. Beridon                                                              Herzfeld, Suetholz, Gastel, Leniski & Wall, PLLC
_____________________________                                                      __________________________________
       Signature of Attorney                                                                            Name of Firm


600 Vine St., Ste 2720                                                            Cincinnati, OH 45202
___________________________                                                      ___________________________________
       Address                                                                                          City/State/Zip Code

       10-06-2023
Date _____________________


Instructions:

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